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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION

  THE STATE OF LOUISIANA,
  By and through its Attorney General, Jeff
  Landry,

                                            PLAINTIFF,
  v.
                                                           CIVIL ACTION NO. 2:23-cv-00692
  UNITED STATES ENVIRONMENTAL
  PROTECTION AGENCY; et al.,

                                     DEFENDANTS.


                                          NOTICE OF RELATED CASE

         The States of Louisiana, by and through its Attorney General, Jeff Landry (the “State”), hereby

 provides notice that a recently filed action, Louisiana v. EPA, 2:23-cv-01774, is related to this matter.

 Specifically, the related action challenges EPA’s violations of the Freedom of Information Act

 (“FOIA”) in connection with a FOIA request related to this action that was filed by the State.


 Dated: December 19, 2023                                 Respectfully submitted,

                                                          By:/s/ Joseph Scott St. John

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